Case: 2:23-cv-00512-SDM-EPD Doc #: 180-1 Filed: 11/09/23 Page: 1 of 2 PAGEID #: 1568



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

   Root, Inc., et al•9
                                                         Case No. 2:23-cv-512
                     Plaintiffs,
                                                         Judge Sarah D. Morrison
           V.
                                                         Magistrate Judge Elizabeth Preston Deavers
   Silver, et al.

                     Defendants.


      DECLARATION OF ELIZABETH S. ALEXANDER FOR ENTRY OF DEFAULT
                            AGAINST SILVER

         I, Elizabeth S. Alexander, declare in support of the Application for Entry of Default by

  Clerk Against Defendant Silver (“Silver”) filed by Plaintiffs Root, Inc., Caret Holdings, Inc., and

  Root Insurance Agency, LLC (“Plaintiffs” or “Root”) in the above-captioned matter:

          1.        I am an attorney at Vorys, Sater, Seymour and Pease LLP (“Vorys”) and represent

  Plaintiffs in the above-captioned matter.

         2.         I make this statement based on my personal knowledge, information, and belief

         3.         On February 14, 2023, Root filed the Verified First Amended Complaint for

 Damages and Injunctive Relief (“First Amended Complainf’). (ECF No. 20.)

         4.         Silver, through counsel, waived service of summons. (ECF No. 34.)

         5.         Silver filed an Answer to the First Amended Complaint on June 16, 2023. (ECF

 No. 127.)

         6.         On June 25 2023, counsel for Silver filed a motion to withdraw as counsel of record.

 (ECF No. 138.)

         7.         On July 5, 2023, the Court granted the motion to withdraw as counsel. (ECF No.

 144.)
Case: 2:23-cv-00512-SDM-EPD Doc #: 180-1 Filed: 11/09/23 Page: 2 of 2 PAGEID #: 1569



          8.    To the best of my knowledge, Silver is proceeding in this litigation pro se. To the

  best of my knowledge, Silver is in custody at the Butler County Jail (Inmate #303850).

          9.    On September 28,2023, the Court granted Root’s Motion for Leave to File Second

  Amended Complaint Instanter. (ECF Nos. 172 and 173.)

          10.   The Court’s electronic filing system states that the Court provided email notice of

  the Court’s Order and the filing of the Second Amended Complaint to Silver’s criminal counsel.

  Phillip A. Templeton. (ECF Nos. 172 and 173.)

          11.   In an abundance of caution, on September 28, 2023, Plaintiffs also mailed copies

  of the September 28, 2023 Order and Second Amended Complaint to the Butler County Jail (to

  the attention of Brinson Caleb Silver, Inmate # 303850) at the following address; 705 Hanover

  Street, Hamilton, Ohio 45011.

          12.   Pursuant to Federal Rule of Civil Procedure 15, Silver’s deadline to move or plead

 in response to the Second Amended Complaint was October 12, 2023.

          13.   Silver has failed to move or plead in response to the Second Amended Complaint.

          14.   Therefore, Silver has failed to plead or otherwise defend against the Second

 Amended Complaint and is in default under Federal Rule of Civil Procedure 55(a).

 I declare under penalty of perjury that the foregoing is true and correct. Executed on November

 a   ., 2023.




                                                     Elizabeth S. Alexander
